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 1                                                          THE HONORABLE ROBERT S. LASNIK

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 7                                  UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF WASHINGTON
 8                                           AT SEATTLE
 9   UNITED STATES OF AMERICA,
                                                         No. 2:08-cr-00177-RSL
10                                  Plaintiff,
                                                         ORDER CONTINUING TRIAL DATE
11                                                       AND DEADLINE FOR FILING
                             vs.                         PRETRIAL MOTIONS
12
     TOMOHISA KAWABATA,
13
                                     Defendant.
14

15          THIS MATTER having come before the Court on the Stipulated Motion to Continue Trial

16   Date and Deadline for Filing Pre-Trial Motions, and the Court having considered the motion and

17   the entirety of the records and files herein, the Court finds and rules as follows:

18          1.      Based on the facts set forth in the parties’ stipulated motion, the Court finds that a

19   failure to grant the continuance would deny counsel the reasonable time necessary for effective

20   preparation, within the meaning of Title 18, United States Code, Section 3161(h)(7)(B)(ii).

21          2.      The Court finds that this case involves ten defendants who have been charged by

22   Superseding Indictment with a complex large-scale international narcotics smuggling conspiracy.

23   All defendants but Mr. Kawabata have been convicted and sentenced. The United States has

24   provided Mr. Kawabata with voluminous discovery, which is broad in scope, and will provide

25   additional discovery.
                                                                               CORR CRONIN MICHELSON
     ORDER CONTINUING TRIAL DATE AND DEADLINE                               BAUMGARDNER FOGG & MOORE LLP
     FOR FILING PRETRIAL MOTIONS - 1                                            1001 Fourth Avenue, Suite 3900
                                                                                Seattle, Washington 98154-1051
     No. 2:08-cr-00177-RSL                                                             Tel (206) 625-8600
                                                                                       Fax (206) 625-0900
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 1          3.      The Court further finds that Mr. Kawabata may face a substantial penalty if

 2   convicted of the crime charged in the Superseding Indictment given the amount of controlled

 3   substances alleged in the Superseding Indictment.

 4          4.      Finally, the Court finds that the ends of justice will be served by ordering a

 5   continuance in this case, that the continuance is necessary to insure effective trial preparation, and

 6   that these factors outweigh the best interests of the public and Mr. Kawabata in a more speedy

 7   trial within the meaning of Title 18, United States Code, Section 3161(h)(7)(A).

 8          THEREFORE, THE COURT FINDS THAT:

 9          1.      The period of time between the date this Order is granted and the new trial date in

10   January 2016 shall be excluded from computation under Title 18 United States Code, Sections

11   3161(h)(7)(A) and 3161(h)(7)(B)(i) and (ii), because it is unreasonable to expect adequate

12   preparation for pre-trial proceedings or for the trial itself within the time limits established by the

13   Speedy Trial Act, and because the failure to grant the continuance set forth in this Order would be

14   likely to make a continuation of this proceeding impossible, or result in a miscarriage of justice.

15          2.      The ends of justice served by this continuance outweigh the best interests of the

16   public and Mr. Kawabata in a speedy trial.

17          THEREFORE, THE COURT ORDERS THAT:

18          1.      The trial date shall be continued from August 31, 2015 to January 5, 2016.

19          2.      The pre-trial motions deadline shall be November 16, 2015.

20          IT IS SO ORDERED.

21          DATED this 20th day of July, 2015.

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24                                                  A
                                                    ROBERT S. LASNIK
25                                                  United States District Judge
                                                                               CORR CRONIN MICHELSON
     ORDER CONTINUING TRIAL DATE AND DEADLINE                               BAUMGARDNER FOGG & MOORE LLP
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 1   Presented by:

 2

 3   s/ Sarah Y. Vogel
     SARAH Y. VOGEL
 4   Assistant United States Attorney
 5

 6   s/ Kelly H. Sheridan
     KELLY H. SHERIDAN
 7   Counsel for Tomohisa Kawabata
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                                                                   CORR CRONIN MICHELSON
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